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                                     UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF KENTUCKY
                                    CENTRAL DIVISION AT LEXINGTON


 IN RE CLASSICSTAR MARE LEASE                                       )       MDL No. 1877
 LITIGATION                                                         )
                                                                    )
                                                                    )       Master File:
 AND                                                                )       Civil Action No.: 5:07-cv-353-JMH
                                                                    )
 WEST HILLS FARMS, LLC, ET AL.                                      )
                                                                    )
                                        PLAINTIFFS                  )
 V.                                                                 )       CASE NO.: 06-243-JMH
                                                                    )
 CLASSICSTAR, LLC, ET AL.                                           )
                                                                    )
                                        DEFENDANTS                  )


                     PLAINTIFFS’ MOTION FOR AWARD OF STATUTORY
                  ATTORNEYS’ FEES AND RELATED NONTAXABLE EXPENSES

            Pursuant to Federal Rule of Civil Procedure 54(d)(2), LR 54.4, and this Court’s

 November 8, 2011 and March 30, 2012 Judgment, Plaintiffs West Hills Farms, LLC, Arbor

 Farms, LLC, Nelson Breeders, LLC, MacDonald Stables, LLC and Jaswinder and Monica

 Grover (“Plaintiffs”), through counsel, move the Court for an Order awarding attorney’s fees and

 costs under 18 U.S.C. § 1964(c) in the amount of $4.46 million for fees and $460,107.17 for

 related nontaxable expenses, which are itemized in the Nontaxable Expenses Attachment

 attached here as Exhibit A, for work performed through the date of Judgment.1 Under 18 U.S.C.

 § 1964(c), Plaintiffs are entitled to “the cost of the suit, including a reasonable attorney's fee.”

 Nontaxable expenses for items such as expert witnesses, computerized research, long distance

 phone calls, postage, and travel have been held recoverable under this language. See, e.g.,



 1
     Plaintiffs have separately and concurrently herewith filed their Bill of Costs, setting forth their taxable expenses.
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 Uniroyal Goodrich Tire Co. v. Mut. Trading Corp., 3 F.3d 516, 526 (7th Cir. 1995); Hertz Cop.

 v. Caulfield, 796 F. Supp. 225, 229-30 (E.D. La. 1992).

        Accordingly, Plaintiffs respectfully request that the Court enter an Order awarding

 Plaintiffs their attorney’s fees and costs. Plaintiffs also request a hearing at which time they may

 present evidence in support of the amounts sought herein.



                                                       Respectfully submitted,


                                                       /s/ Barry D. Hunter
                                                       Paul E. Sullivan
                                                       Barry D. Hunter
                                                       Medrith Lee Norman
                                                       Frost Brown Todd LLC
                                                       250 West Main Street, Suite 2800
                                                       Lexington, Kentucky 40507-1749
                                                       Telephone: (859) 231-0000
                                                       Facsimile: (859) 231-0011

                                                       Robert C. Webb
                                                       Frost Brown Todd LLC
                                                       400 West Market Street, 32nd Floor
                                                       Louisville, Kentucky 40202-3363
                                                       Telephone: (502) 589-5400
                                                       Facsimile: (502) 581-1087

                                                       Attorneys for West Hills Farms, LLC,
                                                       Arbor Farms, LLC, Nelson Breeders, LLC,
                                                       MacDonald Stables, LLC and Monica and
                                                       Jaswinder Grover




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                                       CERTIFICATE OF SERVICE

          This is to certify that a true and correct copy of the foregoing has been electronically filed

 on April 30, 2012, with the Clerk of the Court by using the CM/ECF system, which will send a

 notice of electronic filing to the parties of record.



                                                         /s/ Barry D. Hunter
                                                         Counsel for Plaintiffs

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